                Case 23-11240-TMH             Doc 393       Filed 11/04/23       Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     ) Chapter 11
                                                           )
AMERIFIRST FINANCIAL, INC., et al.,1                       ) Case No. 23-11240 (TMH)
                                                           )
                                  Debtors.                 ) (Jointly Administered)
                                                           )

         ORDER FIXING HEARING DATE AND SHORTENING TIME
 REGARDING EMERGENCY MOTION OF THE DEBTORS TO CONTINUE FINAL
HEARING ON MOTION OF THE DEBTORS FOR INTERIM AND FINAL ORDERS (I)
 AUTHORIZING DEBTORS (A) TO OBTAIN POSTPETITION FINANCING AND (B)
TO UTILIZE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
    PREPETITION LENDERS, (III) MODIFYING THE AUTOMATIC STAY, (IV)
   SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

                  Upon consideration of the motion to shorten (the “Motion to Shorten”)2 time for

hearing on the Emergency Motion of the Debtors to Continue Final Hearing on Motion of the

Debtors for Interim and Final Orders (I) Authorizing Debtors (A) To Obtain Postpetition

Financing and (B) To Utilize Cash Collateral, (II) Granting Adequate Protection, (III)

Modifying the Automatic Stay, (IV) Scheduling A Final Hearing, and (V) Granting Related Relief

(the “Emergency Motion”)3 filed by AmeriFirst Financial, Inc. (“AmeriFirst”) and Phoenix 1040,

LLC (“Phoenix”), as debtors and debtors in possession (collectively, the “Debtors”), in these

chapter 11 cases (the “Chapter 11 Cases”); and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this

1
   The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
   LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite
   117, Mesa, AZ 85203.
2
  Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion to Shorten.
3
    Capitalized terms not otherwise defined herein shall have the meaning given them in the Emergency Motion.

                                                       1
DOCS_SF:109796.1 70786/001
                Case 23-11240-TMH             Doc 393      Filed 11/04/23     Page 2 of 2




Court having found that venue of this proceeding and the Motion to Shorten in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that notice of the

Motion to Shorten was appropriate and no other notice need be provided; and this Court having

reviewed the Motion to Shorten and having determined that the legal and factual bases set forth

in the Motion to Shorten establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

                  1.         The Motion to Shorten is GRANTED.

                  2.         The hearing on the Emergency Motion will be conducted November 6,

2023, at 12:00 p.m. (Eastern time) (the “Hearing”).

                  3.         Any objections or responses to the Motion to Shorten must be made at the

Hearing.

                  4.         Immediately after the entry of this Order, the Debtors shall serve a copy of

this Order and a notice for the Hearing on the Emergency Motion on the Notice Parties in the

manner described in the Motion to Shorten.




              Dated: November 4, 2023                      ____________________________________
              Wilmington, Delaware                         Thomas M. Horan
                                                           United States Bankruptcy Judge




                                                       2
DOCS_SF:109796.1 70786/001
